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 6                      UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF CALIFORNIA
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 9   MICHAEL NEVEU,                   )       1:04-cv-6490 OWW WMW
                                      )
10                  Plaintiff,        )       FINAL JUDGMENT ON VERDICTS
                                      )       OF TRIAL JURY AND JUDGMENT
11        v.                          )       IN FAVOR OF REMAINING
                                      )       DEFENDANTS
12   CITY OF FRESNO, a municipality; )
     FRESNO POLICE DEPARTMENT, a      )
13   department thereof, ROGER ENMARK )
     and MICHAEL GUTHRIE,             )
14                                    )
                    Defendants.       )
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18        This action came before the Court after trial by jury.            The
19   issues were tried and the jury has rendered its verdicts in words
20   incorporated in the verdicts of trial jury, attached as Exhibit A
21   and by this reference incorporated.
22        IT IS ORDERED that JUDGMENT is entered on the jury’s
23   verdicts returned in open court December 14, 2007, in favor of
24   Defendants, Roger Enmark and Michael Guthrie, and against
25   Plaintiff, Michael Neveu.
26        FURTHER ORDERED that in accordance with the Court’s prior
27   order granting summary judgment in favor of Jerry Dyer and Greg
28   Garner and Plaintiff’s dismissal in open court of his complaint

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 1   against Defendant, Marty West, upon a stipulation of probable
 2   cause and in return for a waiver of costs, attorneys’ fees and
 3   expenses, as to defendant West, and in further consideration of
 4   his dismissal of his First Claim for violation of civil rights
 5   as to the Mata speech, judgment shall be entered in favor of
 6   Defendants, Jerry Dyer, Greg Garner, and Marty West, and against
 7   Plaintiff, Michael Neveu.
 8        FURTHER ORDERED, in that no individual Defendant officer or
 9   employee of the City of Fresno has been found liable for any
10   claim asserted by Plaintiff, the City of Fresno cannot be liable,
11   JUDGMENT IS ENTERED in favor of the City of Fresno and against
12   Defendant, Michael Neveu.
13        Each party has agreed to assume his or its attorneys fees,
14   costs, and expenses.
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17   IT IS SO ORDERED.
18   Dated: December 14, 2007             /s/ Oliver W. Wanger
     emm0d6                          UNITED STATES DISTRICT JUDGE
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